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 8

 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11    CONER REED,                             Case No. 8:22-cv-02138
12                    Plaintiff,              COMPLAINT FOR DAMAGES
13          v.                                1. VIOLATIONS OF THE FAIR DEBT
                                              COLLECTION PRACTICES ACT, 15
14                                            U.S.C. §1692 ET SEQ.;
15    ALORICA INC.,                           DEMAND FOR JURY TRIAL
16                 Defendant.
17

18                                      COMPLAINT
19         NOW COMES Plaintiff, CONER REED, by and through his undersigned
20
     counsel, complaining of Defendant, ALORICA INC., as follows:
21

22                                 NATURE OF THE ACTION
23         1.     This action is seeking redress for Defendant’s violations of the Fair Debt
24
     Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
25

26

27

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                                                1
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 1                              JURISDICTION AND VENUE
 2
            2.    The Court has subject matter jurisdiction pursuant to the FDCPA and 28
 3

 4   U.S.C. § 1331.

 5          3.    Venue in this district is proper under 28 U.S.C. § 1391(b)(2) because
 6
     Defendant is domiciled in California, conducts business in the Central District of
 7

 8   California and all of the events or omissions giving rise to the claims occurred within
 9   the Central District of California.
10
                                            PARTIES
11
            7.    CONER REED (“Plaintiff”) is a natural person, over 18-years-of-age,
12

13   who at all times relevant resided Birmingham, Alabama.
14
            8.    Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).
15
            9.    ALORICA INC. (“Defendant”) is a California company with its
16

17   principal executive office in Irvine, California. Defendant specializes in providing
18
     debt collection services to its clients in the financial services industry.
19
            10.   Defendant maintains its principal place of business at 5161 California
20

21   Avenue, Suite 100 Irvine, California 92617.
22
            11.   Defendant is a debt collection agency that collects debts owed to third
23
     parties.
24

25          12.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)
26
     because the principal purpose of Defendant’s business is the collection of debt owed
27
     to others.
28
                                                  2
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 1                                  FACTUAL ALLEGATIONS
 2
           13.    At all times relevant, Plaintiff was the sole operator, possessor, and
 3

 4   subscriber of the cellular telephone number ending in 0432.

 5         14.    At all times relevant, Plaintiff was financially responsible for his cellular
 6
     telephone equipment and services.
 7

 8         15.    Plaintiff applied for a credit card with Credit One Bank.
 9         16.    Upon approval, Credit One Bank mailed Plaintiff a credit card.
10
           17.    Plaintiff activated his credit card and made charges on the credit card
11

12   for personal and household purposes.
13         18.    While Plaintiff initially made payments on his credit card, the payments
14
     ceased due to a financial hardship and Plaintiff’s account fell into default (“subject
15

16   debt”).
17         19.    The subject debt is a “consumer debt” as defined by 15 U.S.C. §
18
     1692a(5) because it was incurred for personal and household purposes.
19

20         20.    Shortly after the payments stopped, Credit One Bank placed the subject
21
     debt with Defendant for collection.
22
           21.    In or around late January 2022, Plaintiff started to receive collection
23

24   phone calls from an entity purporting to be “Credit One Bank.”
25
           22.    On multiple occasions, Plaintiff answered these collection calls and
26
     made oral requests that the calls stop.
27

28
                                                 3
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 1         23.      Despite Plaintiff’s requests that the collection calls cease, the collection
 2
     calls persisted.
 3

 4         24.      On February 21, 2022, Plaintiff initiated arbitration proceedings against

 5   Credit One Bank seeking redress for the harassing collection calls.
 6
           25.      During the arbitration proceedings, Credit One Bank disclosed that it
 7

 8   hired “Alorica Inc.” to collect the subject debt from Plaintiff and that it was
 9   Defendant and not Credit One that placed some of the collection calls at issue.
10
           26.      In total, Defendant placed dozens of harassing collection calls to
11

12   Plaintiff on behalf of Credit One Bank after Plaintiff requested that the collection
13   calls cease.
14
           27.      In each call that Defendant placed to Plaintiff’s cellular phone,
15

16   Defendant purported itself to be Credit One Bank in an effort to deceptively and
17   misleadingly hide its identity from Plaintiff and consumers generally.
18
           28.      To date, Plaintiff has not received any written communications from
19

20   Defendant regarding the subject debt.
21
                                            DAMAGES
22
           29.      Defendant’s constant harassing phone calls have severely disrupted
23

24   Plaintiff’s everyday life and overall well-being.
25
           30.      Defendant’s phone calls have caused Plaintiff actual harm, including but
26
     not limited to, aggravation that accompanies persistent and unwanted phone calls,
27

28   anxiety, emotional distress, increased risk of personal injury resulting from the
                                                   4
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 1   distraction caused by the phone calls, wear and tear to Plaintiff’s cellular phone,
 2
     intrusion upon and occupation of Plaintiff’s cellular telephone, temporary loss of use
 3

 4   of Plaintiff’s cellular phone, invasion of privacy, loss of battery charge, loss of

 5   concentration, mental anguish, nuisance, the per-kilowatt electricity costs required to
 6
     recharge Plaintiff’s cellular telephone as a result of increased usage of Plaintiff’s
 7

 8   telephone services, and wasting Plaintiff’s time.
 9         31.     Moreover, each time Defendant placed a telephone call to Plaintiff,
10
     Defendant occupied Plaintiff’s cellular phone such that Plaintiff was unable to
11

12   receive other phone calls or otherwise utilize his cellular phone while his phone was
13   ringing.
14
           32.     Concerned with having had his rights violated, Plaintiff was forced to
15

16   retain counsel to vindicate his rights.
17                                 CLAIMS FOR RELIEF
18
                                         COUNT I:
19
                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)
20
           33.     All paragraphs of this Complaint are expressly adopted and incorporated
21

22   herein as though fully set forth herein.
23
           a)      Violation(s) of 15 U.S.C. § 1692d
24

25
           34.     Section 1692d provides:

26         [a] debt collector may not engage in any conduct the natural
27         consequence of which is to harass, oppress, or abuse any person in
           connection with the collection of a debt. Without limiting the general
28
                                                5
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 1          application of the foregoing, the following conduct is a violation of this
 2          section:
 3
                   (5)    Causing a telephone to ring or engaging any person in
 4                        telephone conversation repeatedly or continuously with
                          intent to annoy, abuse, or harass any person at the called
 5
                          number.
 6
                   (6)    Except as provided in section 1692b of this title, the
 7
                          placement of telephone calls without meaningful
 8                        disclosure of the caller’s identity.
 9
            35.    Defendant violated 15 U.S.C. § 1692d(5) by repeatedly or continuously
10
     calling Plaintiff after being asked to cease its collection calls.
11

12          36.    Defendant’s behavior of systematically calling Plaintiff’s cellular phone
13
     number in an attempt to collect the subject debt was harassing and abusive.
14

15
            37.    Defendant’s collection calls to Plaintiff were made with the specific

16   intent of annoying, harassing, and abusing Plaintiff.
17
            38.     The fact that Defendant knowingly placed calls to Plaintiff after
18

19
     Plaintiff made numerous requests that the calls cease is illustrative of Defendant’s

20   intent to harass and annoy Plaintiff.
21
            39.    Defendant violated §1692d(6) by falsely identifying itself as “Credit
22

23   One Bank” instead of identifying itself by its real name. As set forth above, the

24   FDCPA requires a debt collector to meaningfully disclose its identity to a consumer.
25
     By holding itself out as “Credit One Bank,” Defendant failed to meaningfully
26

27   disclosure its identity.

28
                                                  6
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 1         b)     Violation(s) of 15 U.S.C. § 1692e
 2
           40.    Section 1692e provides
 3

 4         A debt collector may not use any false, deceptive, or misleading
           representations or means in connection with the collection of any debt.
 5
           Without limiting the general application of the foregoing, the following
 6         conduct is a violation of this section:
 7
                  (14) The use of any business, company, or organization name
 8                     other than the true name of the debt collector’s business,
 9                     company, or organization.
10         41.    Defendant violated §1692e(14) by using a name other than the true
11
     name of its business when it falsely held itself out to be Credit One Bank during
12
     phone calls with Plaintiff.
13

14         c)     Violation(s) of 15 U.S.C. § 1692g
15
           42.    Section 1692g(a) provides:
16
           (a) Within five days after the initial communication with a consumer in
17
           connection with the collection of any debt, a debt collector shall, unless
18         the following information is contained in the initial communication or
19         the consumer has paid the debt, send the consumer a written notice
           containing –
20

21                (1)    the amount of the debt;
22
                  (2)    the name of the creditor to whom the debt is owed;
23

24                (3)    a statement that unless the consumer, within thirty days
                         after receipt of the notice, disputes the validity of the debt,
25
                         or any portion thereof, the debt will be assumed to be valid
26                       by the debt collector;
27

28
                                                 7
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 1                (4)     a statement that if the consumer notifies the debt collector
 2                        in writing within the thirty-day period that the debt or any
                          portion thereof, is disputed, the debt collector will obtain
 3
                          verification of the debt or a copy of a judgment against the
 4                        consumer and a copy of such verification or judgment
 5                        against the consumer and a copy of such verification or
                          judgment will be mailed to the consumer by the debt
 6                        collector; and
 7
                  (5)     a statement that, upon the consumer’s written request
 8
                          within the thirty-day period, the debt collector will provide
 9                        the consumer with the name and address of the original
10                        creditor, if different from the current creditor.

11
           43.    Pursuant to §1692g of the FDCPA, a debt collector must send the
12
     consumer a 30-day validation notice informing the consumer of the right to dispute
13

14   the validity of the debt within five days of the initial communication with the
15
     consumer.
16
           44.    The validation notice provisions were included by Congress to ensure
17

18   that consumers receive their dispute rights.
19
           45.    Defendant violated §1692g by failing to send Plaintiff the 30-day
20
     validation notice within five days of Defendant’s first communication with Plaintiff.
21

22         WHEREFORE, Plaintiff requests the following relief:
23
           A.     a finding that Defendant violated 15 U.S.C. §§ 1692d(5), d(6), e(14) and
24
                  g(a);
25

26         B.     an award of any actual damages sustained by Plaintiff as a result of
27
                  Defendant’s violations of the FDCPA;
28
                                                  8
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 1          C.     an award of such additional damages, as the Court may allow, but not
 2
                   exceeding $1,000.00;
 3

 4          D.     an award of reasonable attorney’s fees and costs as determined by this

 5                 Court; and
 6
            E.     an award of such other relief as this Court deems just and proper.
 7

 8                               DEMAND FOR JURY TRIAL
 9          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and
10
     all issues in this action so triable of right.
11

12

13   Dated: November 28, 2022                             Respectfully Submitted,
14                                                        /s/ Alexander J. Taylor
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19                                                        Counsel for Plaintiff
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